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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

FREEDOM FROM RELIGION                               §
FOUNDATION, INC. and JOHN ROE,                      §
                                                    §
              Plaintiffs,                           §
                                                    §
       v.                                           §       CASE NO. 4:19-cv-1934
                                                    §
JUDGE WAYNE MACK in his personal                    §
capacity and in his official judicial capacity      §
on behalf of the State of Texas,                    §
                                                    §
              Defendants.                           §

  PLAINTIFFS’ MOTION FOR ENTRY OF DEFAULT AND DEFAULT JUDGMENT

       The undersigned counsel, on behalf of plaintiffs, the Freedom From Religion Foundation

and John Roe, move this Court for entry of default and default judgment as to Defendant Judge

Wayne Mack in his official judicial capacity, upon the Complaint heretofore filed and served

upon the Defendant, in accordance with Federal Rules of Civil Procedure 55(a) and 55(b), and in

support thereof shows the Court the following:

   1. On May 29, 2019, Plaintiffs Freedom From Religion Foundation (FFRF) and John Roe

       filed in United States District Court, Southern District of Texas, Houston Division, a

       Complaint alleging that Judge Wayne Mack in his official judicial capacity opens his

       court proceedings with Christian prayer in violation of the Establishment Clause of the

       First Amendment of the United States Constitution. See Dkt. No. 1.

   2. On August 19, 2019, a copy of the Complaint and Summons was served on Judge Wayne

       Mack in his official capacity by Giltene McDaniel. See Dkt. No. 11.

   3. Federal Rule of Civil Procedure 12(b)(I)(A)(i) states that “a defendant must serve an

       answer within 21 days after being served with the summons and complaint.” As of the


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       date of the filing of this motion, more than a year has elapsed since the service of the

       Complaint on Judge Wayne Mack in his official judicial capacity. During this time, Judge

       Wayne Mack in his official judicial capacity has failed to serve a response upon Plaintiffs

       and failed to make an appearance before this Court.

   4. Pursuant to the provisions of Federal Rule of Civil Procedure 55(b)(2), this Court is

       empowered to enter a default and default judgment against the Judge Wayne Mack in his

       official judicial capacity for relief sought by Plaintiffs in their Complaint.

   5. Defendant Judge Wayne Mack in his official judicial capacity has failed to plead or

       otherwise defend this action, and Plaintiffs are entitled to judgment by default against

       Defendant in that capacity.

                                      REQUEST FOR RELIEF

   WHEREFORE, Plaintiffs request that this Court enter a default and default judgment against

Judge Wayne Mack in his official judicial capacity and issue declaratory relief that Judge Mack’s

courtroom prayer practice violates the Establishment Clause of the First Amendment of the

United States Constitution.



                                              Respectfully submitted,

                                              /s/ Samuel T. Grover

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December 18, 2020                                       COUNSEL FOR PLAINTIFFS




                                         CERTIFICATE OF SERVICE

           I certify that, on December 18, 2020, a true and correct copy of this motion was served by

ECF on all counsel of record. This was also served on Judge Wayne Mack in his official judicial

capacity via certified mail, return receipt requested at 19380 Hwy 105 West, Suite 507,

Montgomery, TX 77356. Judge Mack in his official judicial capacity was also served via

certified mail at his residence in Conroe, TX.1

                                      /s/ Samuel T. Grover
                                      Samuel T. Grover




1
    Judge Mack’s address is not being published here due to his position as a judge.


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